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                                                     Response Deadline: January 2, 2019 at 5:00 p.m. (ET)
                                                     Hearing Date: January 9, 2019 at 10:00 a.m. (ET)

COOLEY LLP
1114 Avenue of the Americas
New York, New York 10036
Telephone: (212) 479-6000
Facsimile: (212) 479-6275
Seth Van Aalten
Robert Winning
Sarah Carnes
Summer McKee

Proposed Counsel for
Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------- x
                                                                 :
In re:                                                           :   Chapter 11
                                                                 :
Republic Metals Refining Corporation, et al.1                    :   Case No. 18-13359 (shl)
                                                                 :
                  Debtors.                                       :   (Jointly Administered)
                                                                 :
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     NOTICE OF HEARING ON THE OFFICIAL COMMITTEE OF UNSECURED
    CREDITORS’ APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE
        EMPLOYMENT AND RETENTION OF COOLEY LLP AS COUNSEL
                  NUNC PRO TUNC TO NOVEMBER 19, 2018

        PLEASE TAKE NOTICE that on January 9, 2019 at 10:00 a.m. (ET), or as soon

thereafter as counsel may be heard, a hearing on the Official Committee of Unsecured Creditors’


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 N.W. 38th Avenue, Miami, FL 33054 (4378), and Republic
Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech
Metals, LLC, 13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue,
Miami, FL 33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC,
12900 NW 38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054
(7848), Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001
China (1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro
Joyero Edificio Central, Delegaci6n Cuauhtemoc, Mexico DF 6000 (2942).
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(the “Committee”) Application for an Order Authorizing Employment and Retention of Cooley

LLP as counsel Nunc Pro Tunc to November 19, 2018 (the “Application”) will be held before

the Honorable Sean H. Lane, United States Bankruptcy Judge, in Room 701 of the United States

Bankruptcy Court for the Southern District of New York (the “Court”), One Bowling Green,

New York, New York 10004.


       PLEASE TAKE FURTHER NOTICE that any responses to the Application: (i) must

be in writing; (ii) shall conform to the Federal Rules of Bankruptcy Procedure, the Local Rules

and the Order Establishing Certain Notice, Case Management and Administrative Procedures

(the “Case Management Order”) [Docket No. 55]; (iii) set forth the name of the responding

party, the basis for the response and the specific grounds thereof; and (iv) be filed with the Court

electronically in accordance with General Order M-399 (which can be found at

www.nysb.uscourts.gov) by registered users of the Court’s case filing system and, by all other

parties in interest, on a 3.5 inch floppy disk, CD-ROMs, and 100 MB Zip Disks in either PDF or

WordPerfect format.      Further, pursuant to Local Bankruptcy Rule 9070-1 and the Case

Management Order, at least one hard copy, marked “Chambers Copy”, be delivered directly to

the chambers of the Honorable Sean Lane, and shall be served upon: (i) the Debtors, c/o

Republic Metals Refining Corporation, (Attn: Scott Avila); (ii) the attorneys for the Debtors,

Akerman LLP, 2001 Ross Avenue, Suite 3600, Dallas, TX 75201 (Attn: John Mitchell, Esq.) and

98 Southeast Seventh Street, Suite 1100, Miami, FL 3313 (Attn: Andrea S. Hartley, Esq. and

Katherine C. Fackler, Esq.); (iii) the Office of the United States Trustee for the Southern District

of New York (the “U.S. Trustee”), U.S. Federal Office Building, 201 Varick Street, Suite 1006,

New York, New York 10014 (Attn: Shannon Scott, Esq.); (iv) the attorneys for the Committee,

Cooley LLP, 1114 Avenue of the Americas, New York, NY 10036 (Attn: Seth Van Aalten,
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Esq.); (v) counsel to any other statutory committee appointed in the Chapter 11 Cases

(collectively, the “Standard Parties”); (vi) any person or entity with a particularized interest in

the subject matter of a certain document (each, an “Affected Party”); and (vii) any persons who

have filed a request for notice in the above captioned cases pursuant to Rule 2002 of the Federal

Rules of Bankruptcy Procedure, so as to be filed and received by no later than January 2, 2019

at 5:00 p.m. (ET) (the “Response Deadline”).


         PLEASE TAKE FURTHER NOTICE that, if no responses are timely filed and served

with respect to the Application, the Committee may, on or after the Response Deadline, submit

to the Court an order, substantially in the form of the proposed order annexed to the Application,

for which the order may be entered with no further notice or opportunity to be heard.


Dated:    December 19, 2018
          NEW YORK, NEW YORK                         COOLEY LLP

                                                     /s/ Seth Van Aalten
                                                     Seth Van Aalten
                                                     Robert Winning
                                                     Sarah Carnes
                                                     Summer McKee
                                                     1114 Avenue of the Americas
                                                     New York, New York 10036
                                                     Telephone: (212) 479-6000
                                                     Facsimile: (212) 479-6275
                                                     Email: svanaalten@cooley.com;
                                                             rwinning@cooley.com;
                                                             scarnes@cooley.com;
                                                             smckee@cooley.com

                                                     Proposed Counsel for the Official
                                                     Committee of Unsecured Creditors
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                                                     Response Deadline: January 2, 2019 at 5:00 p.m. (ET)
                                                     Hearing Date: January 9, 2019 at 10:00 a.m. (ET)

COOLEY LLP
1114 Avenue of the Americas
New York, New York 10036
Telephone: (212) 479-6000
Facsimile: (212) 479-6275
Seth Van Aalten
Robert Winning
Sarah Carnes
Summer McKee

Proposed Counsel for
Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------------------------- x
                                                                 :
In re:                                                           :   Chapter 11
                                                                 :
                                                      1
Republic Metals Refining Corporation, et al.                     :   Case No. 18-13359 (shl)
                                                                 :
                  Debtors.                                       :   (Jointly Administered)
                                                                 :
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    APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
       FOR ENTRY OF AN ORDER AUTHORIZING THE EMPLOYMENT AND
          RETENTION OF COOLEY LLP AS COUNSEL NUNC PRO TUNC
                         TO NOVEMBER 19, 2018




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 N.W. 38th Avenue, Miami, FL 33054 (4378), and Republic
Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833) (collectively, the
“Original Debtors”), as well as: Republic High Tech Metals, LLC, 13001 NW 38 Avenue, Miami, FL 33054
(6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (1507), RMC2, LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7604); R & R
Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848), Republic Metals Trading (Shanghai) Co., Ltd.,
276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639), and Republic Trans Mexico Metals,
S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio Central, Delegaci6n Cuauhtemoc,
Mexico DF 6000 (2942) (collectively, the “Additional Debtors”).



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         The Official Committee of Unsecured Creditors (the “Committee”) appointed in these

chapter 11 cases of the above-captioned debtors and debtors-in-possession (collectively the

“Debtors”) hereby files this application (this “Application”) for an order, substantially in the

form attached hereto as Exhibit A, authorizing the retention and employment of Cooley LLP

(“Cooley”) as its counsel pursuant to section 1103 of chapter 11 of title 11 of the United States

Code (the “Bankruptcy Code”), Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and the Local Bankruptcy Rules for the United States Bankruptcy Court

for the Southern District of New York (the “Local Rules”), and the Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by

Attorneys in Larger Chapter 11 Cases (the “U.S. Trustee Guidelines”).         In support of the

Application, the Committee relies upon and incorporates by reference the (i) Declaration of Seth

Van Aalten in Support of the Application of the Official Committee of Unsecured Creditors for

Entry of an Order Authorizing the Employment and Retention of Cooley LLP as Counsel Nunc

Pro Tunc to November 19, 2018 (the “Van Aalten Declaration”), attached hereto as Exhibit B,

and (ii) Declaration of Delaney Fisher, Chairperson of the Committee, in Support of the

Application of the Official Committee of Unsecured Creditors for Entry of an Order Authorizing

the Employment and Retention of Cooley LLP as Counsel Nunc Pro Tunc to November 19, 2018

(the “Fisher Declaration”), attached hereto as Exhibit C. In further support of the Application,

the Committee respectfully represents:

                                         JURISDICTION

         1.    Pursuant to 28 U.S.C. §§ 157 and 1334, this Court has jurisdiction to consider and

grant the relief requested herein. A proceeding to consider and grant such relief is a core

proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this Court pursuant to 28



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U.S.C. §§ 1408 and 1409. The statutory predicates for the relief sought herein is section 1103(a)

of the Bankruptcy Code. Relief is also proper pursuant to Bankruptcy Rule 2014 and the Local

Rules.

                                        BACKGROUND

         2.    On November 2, 2018 (the “Petition Date”), each of the Original Debtors

commenced a voluntary case under chapter 11 of the Bankruptcy Code. The Original Debtors

are authorized to operate their businesses and manage their properties as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On November 8, 2018, the

Court entered an order authorizing the joint administration of the Debtors’ chapter 11 cases [D.I.

44].

         3.    On November 19, 2018, the Office of the United States Trustee (the “U.S.

Trustee”) for Region 2 appointed the Committee, consisting of the following seven members:

(i) Coeur Rochester, Inc. c/o Coeur Mining, Inc.; (ii) Bayside Metal Exchange; (iii) So Accurate

Group Inc.; (iv) Cyber-Fox Trading, Inc.; (v) Minera Triton Argentina S.A.; (vi) Pyropure Inc.

d/b/a Pyromet; and (vii) Minera Real de Ora S.A. de C.V. That same day, the Committee

selected Cooley as its proposed counsel, and CBIZ, Accounting, Tax & Advisory of New York,

LLC and CBIZ, Inc. (collectively “CBIZ”) as its proposed financial advisor.

         4.    On November 21, 2018, the Additional Debtors filed voluntary petitions for

relief under the Bankruptcy Code, initiating their chapter 11 cases.

         5.    No trustee or examiner has been appointed in these chapter 11 cases.

                   RELIEF REQUESTED AND REASONS THEREFOR

         6.    By this Application, pursuant to section 1103(a) of the Bankruptcy Code and

Bankruptcy Rule 2014, the Committee requests entry of the proposed order attached hereto as



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Exhibit A, approving the employment and retention of Cooley, nunc pro tunc to November 19,

2018, as its counsel in connection with these chapter 11 cases.

         7.    By separate application, the Committee is seeking to employ and retain CBIZ as

its proposed financial advisor.

         8.    In light of Cooley’s expertise representing creditors’ committees across a broad

range of industries, it would be cost effective for the Committee to retain Cooley as its counsel.

Cooley is well suited to represent the Committee, having represented official committees in cases

such as Aerogroup, American Apparel, Avenue Stores, Big M, Blockbuster, Bob’s Stores,

Brookstone, City Sports, Charming Charlie, Claire’s, Eddie Bauer, Edwin Watts, Federated

Department Stores, Filene’s Basement, Fresh Produce, Fuhu, Golfsmith, Gottschalk’s, Great

Lakes Comnet, Hancock Fabrics, KB Toys, KIT Digital, Magnetation, Marsh Supermarkets,

Mervyn’s, Midway Gold, Montgomery Ward, National Stores, Orchard Brands, Oriental

Trading, PacSun, Pizzeria Uno, RadioShack, Ritz Camera, rue21, Sbarro, Signature Styles,

SkyMall, Steve & Barry’s, Sharper Image, The Athlete’s Foot, The Wet Seal, Today’s Man,

Tower Records, True Religion, and Vertis Holdings, among many others.

         9.    Pursuant to section 1103(a) of the Bankruptcy Code, the Committee requests that

this Court approve the employment of Cooley as its counsel to, among other things:

               (a)     Attend the meetings of the Committee;

               (b)     Review financial and operational information furnished by the Debtors to
                       the Committee;

               (c)     Analyze and negotiate the budget and the terms of the Debtors’ use of
                       cash collateral;

               (d)     Assist in the Debtors’ efforts to sell their assets in a manner that
                       maximizes value for creditors;

               (e)     Review and investigate prepetition transactions in which the Debtors
                       and/or their insiders were involved;

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               (f)    Assist the Committee in negotiations with the Debtors and other parties in
                      interest on the Debtors’ proposed chapter 11 plan and/or exit strategy for
                      these cases;

               (g)    Confer with the Debtors’ management, counsel, and financial advisor and
                      any other retained professional;

               (h)    Confer with the principals, counsel and advisors of the Debtors’ lenders
                      and equityholders;

               (i)    Review the Debtors’ schedules, statements of financial affairs, and
                      business plan;

               (j)    Advise the Committee as to the ramifications regarding all of the Debtors’
                      activities and motions before this Court;

               (k)    Review and analyze the Debtors’ financial advisors’ work product and
                      report to the Committee;

               (l)    Investigate and analyze certain of the Debtors’ prepetition conduct,
                      transactions, and transfers;

               (m)    Provide the Committee with legal advice in relation to the chapter 11
                      cases;

               (n)    Prepare and file various pleadings on behalf of the Committee; and

               (o)    Perform such other legal services for the Committee as may be necessary
                      or proper in these proceedings.

         8.    Cooley has advised the Committee that it intends to apply to the Court for

compensation and reimbursement of expenses in accordance with applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, U.S. Trustee Guidelines and any

administrative compensation order entered in these cases. The proposed rates of compensation,

subject to final Court approval, are the customary hourly rates in effect when services are

performed by the attorneys, legal assistants, and staff who provide services to the Committee.

These hourly rates are subject to periodic adjustment and the Committee has been advised of that

fact.




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         9.       The current hourly rates of the Cooley professionals anticipated to be primarily

staffed on this matter are set forth in the chart below.

               Attorney                                  Status        Hourly Rate
               Seth Van Aalten                           Partner           $940
               Robert Winning                        Associate             $900
               Sarah Carnes                          Associate             $710
               Summer McKee                          Associate             $710
               Joseph Brown                          Associate             $555
               David Fleischer                       Paralegal             $415
               Mollie Canby                          Paralegal             $255

         10.      Consistent with the firm’s policy with respect to its other clients, Cooley will

charge the Committee for all charges and disbursements incurred in rendering services to the

Committee. These customary items include, among other things, photocopying, facsimiles,

travel, business meals, computerized research, postage, witness fees, and other fees related to

trials and hearings. Internal costs or overhead cost and document production services (including

regular secretarial and word processing time) will not be charged for separately.

         11.      Based upon the Van Aalten Declaration, filed contemporaneously herewith, the

Committee is satisfied that (i) Cooley represents no interest adverse to the Committee, the

Debtors, their estates, or any other party in interest in the matters upon which it is to be engaged

and that its employment is in the best interest of the estates, (ii) Cooley has no connection with

the U.S. Trustee or any other person employed in the office of the U.S. Trustee, and (iii) Cooley

has not been paid any retainer against which to bill fees and expenses. To the best of the

Committee’s knowledge, Cooley has no connection with creditors or any other party in interest

except as otherwise noted in the Van Aalten Declaration.




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                STATEMENT REGARDING U.S. TRUSTEE GUIDELINES

         12.   Cooley shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court.

Cooley also intends to make a reasonable effort to comply with the U.S. Trustee’s requests for

information and additional disclosures as set forth in U.S. Trustee Guidelines, both in connection

with this application and the interim and final fee applications to be filed by Cooley in these

chapter 11 cases.

         13.   The following is provided in response to the request for additional information set

forth in Paragraph D.1. of the U.S. Trustee Guidelines:

         Question:    Did you agree to any variations from, or alternatives to, your standard or
                      customary billing arrangements for this engagement?

         Response:    No.

         Question:    Do any of the professionals included in this engagement vary their rate
                      based on the geographic location of the bankruptcy case?

         Response:    No.

         Question:    If you represented the client in the 12 months prepetition, disclose your
                      billing rates and material financial terms for the prepetition engagement,
                      including any adjustments during the 12 months prepetition. If your billing
                      rates and material financial terms have changed postpetition, explain the
                      difference and the reasons for the difference.

         Response:    Cooley did not represent the Committee in the 12 months prepetition.
                      Cooley has in the past represented, currently represents, and may represent
                      in the future certain Committee members and/or their affiliates in their
                      capacities as members of official committees in other chapter 11 cases or
                      in their individual capacities.

         Question:    Has your client approved your prospective budget and staffing plan, and,
                      if so for what budget period?


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         Response: Yes. For the period from November 19, 2018 through February 28, 2019.

         14.    The Committee requests approval of the employment of Cooley nunc pro tunc to

November 19, 2018. Such relief is warranted by the circumstances presented by these cases.

The Committee’s selection of Cooley on November 19, 2018 necessitated that Cooley

immediately commence work on time-sensitive matters and promptly devote substantial

resources to the Debtors’ cases pending submission and approval of this Application.

                            NOTICE AND PRIOR APPLICATION

         10.    Notice of the instant Application is being given to (i) the U.S. Trustee; (ii) counsel

for the Debtors; (iii) counsel for the Debtors’ prepetition secured lenders; and (iv) all parties

filing an entry of appearance and request for notices pursuant to Fed. R. Bankr. P. 2002. The

Committee respectfully submits that, in light of the nature of the relief requested, no further

notice is necessary or required. No prior application for the relief requested herein has been

presented to this Court or any other court.

                           [Remainder of page intentionally left blank.]




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          WHEREFORE, the Committee hereby respectfully requests that it be authorized to retain

and employ CBIZ, Accounting, Tax & Advisory of New York, LLC and CBIZ, Inc. as its

financial advisor nunc pro tunc to November 19, 2018, and that CBIZ be paid such

compensation as may be allowed by this Court, and for such other further relief as is deemed just

and proper.

Dated: December     I’l, 2018                      Respectfully submitted,

                                                   The Official Committee of Unsecured Creditors
                                                   of Republic Metals Refining Corporation, et al.

                                                   Mmera Triton Argentina $.A.
                                                   Committee Chairperson

                                                   By: /s/
                                                       DelaneWr




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                                    EXHIBIT A

                                  Proposed Order




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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In re:                                                           :     Chapter 11
                                                                 :
Republic Metals Refining Corporation, et al.1                    :     Case No. 18-13359 (shl)
                                                                 :
                  Debtors.                                       :     (Jointly Administered)
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                ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION
                    OF COOLEY LLP AS COUNSEL FOR THE OFFICIAL
                       COMMITTEE OF UNSECURED CREDITORS

                    Upon the application (the “Application”)2 of the Official Committee of Unsecured

Creditors (the “Committee”) in the above-captioned chapter 11 cases for entry of an order

authorizing the Committee to employ and retain Cooley LLP (“Cooley”) as its counsel nunc pro

tunc to November 19, 2018, the date the Committee determined to employ Cooley as counsel in

these cases, pursuant to section 1103 of title 11 of the United States Code, Rule 2014(a) of the

Federal Rules of Bankruptcy Procedure, and the Local Bankruptcy Rules for the Southern

District of New York; and upon the Declaration of Seth Van Aalten of Cooley LLP (the “Van

Aalten Declaration”) attached to the Application as Exhibit B; and upon the Declaration of

Delaney Fisher, Chairperson of the Committee (the “Fisher Declaration”) attached to the

Application as Exhibit C; and the Court having jurisdiction pursuant to sections 157 and 1334 of

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 N.W. 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL 33054
(1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegaci6n Cuauhtemoc, Mexico DF 6000 (2942).
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    Capitalized terms not otherwise herein defined shall have the meanings ascribed to such terms in the Application.


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title 28 of the United States Code to consider the Application and the relief requested therein;

and venue being proper in this Court pursuant to sections 1408 and 1409 of title 28 of the United

States Code; and the Court being satisfied that notice of this Application and the opportunity for

a hearing on this Application was appropriate under the particular circumstances and no further

or other notice need by given; and the Court being satisfied, based on the representations made in

the Application and the Van Aalten Declaration, that Cooley does not represent or hold any

interest adverse to the Debtors or their estates as to the matters upon which Cooley has been and

is to be employed, and that Cooley is a “disinterested person” as such term is defined in section

101(14) of the Bankruptcy Code; and the Court having determined that the relief sought in the

Application is in the best interests of the Committee, the Debtors, their creditors, and all parties

in interest; and this Court having determined that the legal and factual bases set forth in the

Application and in the Van Aalten Declaration establish just cause for the relief granted herein;

and after due deliberation and sufficient cause appearing therefor, it is hereby ORDERED that:

         1.    The Application is GRANTED to the extent set forth herein.

         2.    In accordance with section 1103(a) of the Bankruptcy Code and Bankruptcy Rule

2014, the Committee is authorized to employ and to retain Cooley LLP as its counsel, nunc pro

tunc to November 19, 2018, on the terms and conditions set forth in the Application and in the

Van Aalten Declaration.

         3.    Cooley shall apply for compensation and reimbursement in accordance with the

procedures set forth in sections 330 and 331 of the Bankruptcy Code, applicable provisions of

the Bankruptcy Rules, the Local Rules, any order establishing procedures for interim

compensation, and any fee and expense guidelines of this Court.




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         4.    Cooley will provide notice of any rate increases by notifying the Committee and

filing a notice with the Court. The Committee, the U.S. Trustee, and all parties-in-interest retain

all rights to object to any rate increase on all grounds including, but not limited to, the

reasonableness standard provided for in section 330 of the Bankruptcy Code, and the Court

retains the right to review any rate increase pursuant to section 330 of the Bankruptcy Code.

         5.    The Committee and Cooley are authorized to take all actions they deem necessary

and appropriate to effectuate the relief granted pursuant to this Order in accordance with the

Application.

         6.    The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         7.    This Court shall retain jurisdiction with respect to all matters arising from or

relating to the interpretation or implementation of this Order.

Dated: _______________, 2019
       New York, New York

                                              HONORABLE SEAN H. LANE
                                              UNITED STATES BANKRUPTCY JUDGE




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                                    EXHIBIT B

                               Van Aalten Declaration




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COOLEY LLP
1114 Avenue of the Americas
New York, New York 10036
Telephone: (212) 479-6000
Facsimile: (212) 479-6275
Seth Van Aalten
Robert Winning
Sarah Carnes
Summer McKee

Proposed Counsel for
Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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In re:                                                           :   Chapter 11
                                                                 :
Republic Metals Refining Corporation, et al.1                    :   Case No. 18-13359 (shl)
                                                                 :
                  Debtors.                                       :   (Jointly Administered)
                                                                 :
---------------------------------------------------------------- x


      DECLARATION OF SETH VAN AALTEN OF COOLEY LLP IN SUPPORT OF
    APPLICATION TO RETAIN AND EMPLOY COOLEY LLP AS COUNSEL TO THE
    OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF REPUBLIC METALS
     REFINING CORPORATION, ET AL., NUNC PRO TUNC TO NOVEMBER 19, 2018

         I, Seth Van Aalten, hereby declare, pursuant to 28 U.S.C. § 1746, as follows:

         1.      I am an attorney at law and a partner of the law firm of Cooley LLP (“Cooley”). I

make this declaration pursuant to section 1103 of chapter 11 of title 11 of the United States Code

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 N.W. 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL 33054
(1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegaci6n Cuauhtemoc, Mexico DF 6000 (2942).


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(the “Bankruptcy Code”) and Rules 2014 and 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) in support of the accompanying application (the

“Application”) of the Official Committee of Unsecured Creditors (the “Committee”) of Republic

Metals Refining Corporation, et al., to employ and retain Cooley as its counsel.

         2.     Cooley is a law firm of approximately 900 attorneys with a New York office

located at 1114 Avenue of the Americas, New York, New York 10036-7798.

         3.     Subject to this Court’s approval, Cooley proposes to provide legal services to the

Committee, at the rates approved by the Court, in compliance with section 1103 of the

Bankruptcy Code. Unless otherwise stated in this declaration, I have personal knowledge of the

facts set forth herein. To the extent any information disclosed herein requires amendment or

modification upon Cooley’s completion of further review or as additional party-in-interest

information becomes available to it, a supplemental declaration will be submitted to the Court

reflecting such amended or modified information.

                            COOLEY’S DISCLOSURE PROCEDURES

         4.     Cooley has in the past represented, currently represents, and may in the future

represent entities that are claimants of the Debtors in matters unrelated to the Debtors. Cooley

has a large and diversified legal practice that encompasses the representation of many financial

institutions and commercial corporations. Some of those entities are or may consider themselves

to be creditors or parties in interest in the Debtors’ pending chapter 11 cases or to otherwise have

interests in these cases.

         5.     In order to prepare this declaration, Cooley compared the Debtors’ bankruptcy

petitions, consolidated list of top 30 unsecured creditors, list of secured creditors, and other

parties in interest with the information contained in the conflict check systems and adverse party



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indexes currently maintained by Cooley (collectively, the “Conflict Check System”). A list of

entities searched is attached hereto as Schedule A.

         6.    The facts stated in this declaration as to the relationship between Cooley lawyers

on one hand, and the Debtors, the Debtors’ creditors and other parties in interest are based upon

the results of the review of the Conflict Check System. To the extent that the firm discovers any

connection with any interested party or enters into any new relationship with any interested

party, the firm will promptly supplement its disclosure to the Court.

         7.    The Conflict Check System is a computerized database of current and former

clients and adverse and related parties that are regularly maintained and updated in the course of

the firm’s business. These procedures are designed to include every matter on which the firm is

now or has been engaged, by which entity the firm is now or has been engaged, and, in each

instance, to include and record the identity of related parties, adverse parties, and the attorney in

the firm that is knowledgeable about the matter. It is Cooley’s policy that no new matter may be

accepted or opened within the firm without completing and submitting to those charged with

maintaining the Conflict Check System the information necessary to check such matter for

conflicts, including the identity of the prospective client, the matter, and related and adverse

parties. Accordingly, the database is regularly updated for every new matter undertaken by

Cooley and reflects entries that are noted in the systems at the time the information becomes

known by persons whose regular duties include recording and maintaining this information. The

scope of the system is a function of the completeness and accuracy of the information submitted

by the attorney opening a new matter. As a partner of the firm, I regularly send information to

update the Conflict Check System and use and rely upon the information contained in the system

in the performance of my duties at Cooley and in my practice of law.



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               COOLEY’S CONNECTIONS WITH PARTIES IN INTEREST IN
                MATTERS UNRELATED TO THESE CHAPTER 11 CASES

         8.     Any client connections with regard to which Cooley had represented the client

within the past three years were reviewed by an attorney working under my supervision and from

such review it was determined that, in respect of each connection between Cooley and such

parties, Cooley does not have an interest adverse to the Debtors’ estates and is a “disinterested

person,” as that term is defined in section 101(14) of the Bankruptcy Code, as modified by

section 1103(b) of the Bankruptcy Code.

         9.     To the best of my knowledge, no attorney at Cooley holds a direct or indirect

equity interest in the Debtors or has a right to acquire such an interest.

         10.    No attorney at Cooley is or has served as an officer, director, or employee of the

Debtors.

         11.    No attorney at Cooley is in control of the Debtors or is a relative of a general

partner, director, officer, or person in control of the Debtors.

         12.    No attorney at Cooley is a general or limited partner of a partnership in which the

Debtors are also a general or limited partner.

         13.    No attorney at Cooley is or has served as an officer, director, or employee of a

financial advisor that has been engaged by the Debtors in connection with the offer, sale, or

issuance of a security of the Debtors.

         14.    No attorney at Cooley has represented a financial advisor of the Debtors in

connection with the offer, sale, or issuance of a security of the Debtors.

         15.    Cooley currently represents Mitsubishi Corporation and Mitsubishi Aircraft

Corporation, affiliates of Mitsubishi International Corporation, a purportedly secured creditor of

the Debtors, in four (4) matters wholly unrelated to the Debtors or these chapter 11 cases. Since


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2016, Cooley’s fees for representing affiliates of Mitsubishi International Corporation represent

less than one tenth of one percent of Cooley’s total receipts. Cooley is currently adverse to

twelve (12) other affiliates of Mitsubishi International Corporation in twenty-three (23) other

matters wholly unrelated to the Debtors or these chapter 11 cases. I do not believe Cooley’s

relationship with or representations of these affiliates creates a conflict, but have disclosed the

connections out of an abundance of caution.

         16.       Cooley may also represent in the future Committee members and/or their

affiliates in their capacities as members of creditors’ committees appointed in other chapter 11

cases.

         17.       No attorney at Cooley represents an insider of the Debtors, any subsidiary, or

other affiliate.

         18.       No attorney at Cooley has been paid fees prepetition or holds a security interest,

guarantee, or other assurance of compensation for services performed and to be performed in

these proceedings except as set forth herein.

         19.       There is no agreement of any nature, other than the Cooley partnership agreement,

as to the sharing of any compensation to be paid to Cooley.

         20.       No attorney at Cooley has any other connection with the Debtors, their creditors,

the U.S. Trustee, or any employee of that office, or any parties in interest in these proceedings.

         21.       To the best of my knowledge, no attorney at Cooley is a relative of, currently has,

or previously has had any connection with the bankruptcy judge approving the employment of

Cooley as the Committee’s counsel that would render the employment improper.

         22.       To the best of my knowledge, no attorney at Cooley has any other interest, direct

or indirect, that may be affected by the proposed representation.



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         23.   Cooley will not, while employed by the Committee, represent any other entity

having an adverse interest in connection with these chapter 11 cases.

                      COOLEY’S RATES AND BILLING PRACTICES

         24.   The legal services Cooley agreed to provide are detailed in the accompanying

Application and the same is incorporated herein by reference.           The professionals who are

presently contemplated to be working on this engagement and their present hourly rates are set

forth in the accompanying retention application. The attorney having primary responsibility on

the engagement shall be affiant, a partner in the firm.

         25.   Cooley’s billing rates vary from attorney to attorney based on factors such as the

attorney’s seniority and position with the firm (e.g., partner, of counsel, special counsel,

associate), years of experience, and the demand for services in the attorney’s particular area of

expertise. Cooley’s billing rates do not vary as a function of whether the services performed

relate to a bankruptcy engagement or a non-bankruptcy engagement. Cooley endeavors to set

the hourly rates for its attorneys and paraprofessionals at levels competitive to those charged by

firms with which it competes.

         26.   The current hourly rates for the professionals who are presently contemplated to

be working on this engagement are set forth in the accompanying retention application. For

professional services, fees are based on Cooley’s standard hourly rates. The proposed rates of

compensation are subject to periodic adjustment and the Committee has been so advised.

         27.   Consistent with the firm’s policy with respect to its other clients, Cooley will

continue to charge the Committee for all charges and disbursements incurred in rendering

services to the Committee. These customary items include, among other things, photocopying,

facsimiles, travel, business meals, computerized research, postage, witness fees, and other fees



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related to trials and hearings. Internal costs or overhead cost (including regular secretarial and

word processing time), will not be charged for separately. Cooley shall at all times adhere to any

local rule or chambers guidelines with respect to reimbursement of expenses.

         28.   Cooley did not receive a retainer with respect to this representation.

         ATTORNEY STATEMENT PURSUANT TO U.S. TRUSTEE GUIDELINES

         29.   Cooley shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court.

Cooley also intends to make a reasonable effort to comply with the U.S. Trustee’s requests for

information and additional disclosures as set forth in the Guidelines for Reviewing Applications

for Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in

Larger Chapter 11 Cases Effective as of November 1, 2013, both in connection with this

application and the interim and final fee applications to be filed by Cooley in these chapter 11

cases.

         30.   The following is provided in response to the request for additional information set

forth in Paragraph D.1. of the U.S. Trustee Guidelines:

         Question:    Did you agree to any variations from, or alternatives to, your standard or
                      customary billing arrangements for this engagement?

         Response:    No.

         Question:    Do any of the professionals included in this engagement vary their rate
                      based on the geographic location of the bankruptcy case?

         Response:    No.

         Question:    If you represented the client in the 12 months prepetition, disclose your
                      billing rates and material financial terms for the prepetition engagement,


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                        including any adjustments during the 12 months prepetition. If your billing
                        rates and material financial terms have changed postpetition, explain the
                        difference and the reasons for the difference.

         Response:      Cooley did not represent the Committee in the 12 months prepetition.
                        Cooley has in the past represented, currently represents, and may represent
                        in the future certain Committee members and/or their affiliates in their
                        capacities as members of official committees in other chapter 11 cases or
                        in their individual capacities.

         Question:      Has your client approved your prospective budget and staffing plan, and,
                        if so for what budget period?

         Response:      Yes. For the period from November 19, 2018 through February 28, 2019.

         31.    Cooley agreed to provide legal services to the Committee and recognizes that any

allowance of compensation for services rendered on behalf of the Committee in connection with

these proceedings and any reimbursement of disbursements made in connection therewith are

subject to the prior approval and authorization by order of this Court. Cooley realizes that any

application for fees must be supported by detailed contemporaneous time records. Cooley also

understands that this Court’s approval of its retention application is not approval of any proposed

terms of compensation and that this Court may allow compensation on terms different from those

proposed.

         32.    Cooley will abide by the terms of any administrative order establishing

professional compensation and reimbursement procedures entered in these cases.

         33.    The foregoing constitutes the statement of Cooley pursuant to sections 504 and

1103 of the Bankruptcy Code and Bankruptcy Rule 2014.

         I declare under penalty of perjury that the foregoing is true and correct.



Dated: New York, New York                                      /s/ Seth Van Aalten
       December 18, 2018                                       Seth Van Aalten



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                                   SCHEDULE A
                             Potential Parties-in-Interest




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                                       Potential Parties-in-Interest


Bank Leumi USA
Woodforest National Bank
Techemet Metal Trading LLC
ICBC Standard Bank Plc
Mitsubishi International Corporation
Bank Hapoalim B.M.
Brown Brothers Harriman & Co.
Cooperatieve Rabobank U.A.
Amended and Restated Richard Rubin Revocable Trust
Republic Carbon Company, LLC
Republic Metals Corporation
Republic Metals Refining Corporation
DK Bullion Pte. Ltd.
American Precious Metals Exchange, Inc.
Standard Bank Plc Client
Wharf Resources U.S.A. Inc.
Prince & Izant
QML, Inc.
Export Gold S.A.
General Refining & Smelting Corporation
Don David Gold México SA de CV
SK Bullion Pte. Ltd.
Oxidos de Pasco S.A.C.
Compania Minera Dolores, S.A. de C.V.
Horizon Metals
Compania Minera Pitalla, S.A. de C.V.
Bayside Metal Exchange

Nusantara de México, S.A. de C.V.

MID-STATES RECYCLING

SO Accurate Group, Inc.

Minera Santa Rita, S. de R.L. de C.V.



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EZPAWN

Coeur Rochester, Inc.

Midwest Refineries

Geib Refining Corporation

Minera Triton Argentina S.A.

Karkour Fine Jewelry Inc.

Minera Real Del Oro, S.A. de C.V.

Pretium Exploration Inc.

Minera Santa Cruz S.A.

S & S Metal Group

Primero Empresa Minera, S.A. de C.V.

Premier Gold Mines Limited

Estelar Resources Limited S.A.

Erie Management Partners

APMEX, Inc.

Sumitomo Metal Mining Co., Ltd.

Coeur Mexicana SA de CV

Laurelton Sourcing LLC

UL LLC

R&R Metals, LLC

J&L Republic, LLC

RMC2

RMC Diamonds, LLC

Republic High Tech Metals

Republic Shanghai


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Maria I. Machado, P.A.

Crowe Horwath LLP

EisnerAmper LLP

William K. Harrington

Honorable Sean H. Lane




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                                     Exhibit C

                            Declaration of Delaney Fisher




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COOLEY LLP
1114 Avenue of the Americas
New York, New York 10036
Telephone: (212) 479-6000
Facsimile: (212) 479-6275
Seth Van Aalten
Robert Winning
Sarah Carnes
Summer McKee

Proposed Counsel for
Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------------------------- x
                                                                 :
In re:                                                           :   Chapter 11
                                                                 :
Republic Metals Refining Corporation, et al.1                    :   Case No. 18-13359 (shl)
                                                                 :
                  Debtors.                                       :   (Jointly Administered)
                                                                 :
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    DECLARATION OF DELANEY FISHER, CHAIRPERSON OF THE COMMITTEE, IN
        SUPPORT OF THE APPLICATION OF THE OFFICIAL COMMITTEE OF
      UNSECURED CREDITORS FOR ENTRY OF AN ORDER AUTHORIZING THE
          EMPLOYMENT AND RETENTION OF COOLEY LLP AS COUNSEL
                   NUNC PRO TUNC TO NOVEMBER 19, 2018

         I, Delaney Fisher, hereby declare, pursuant to 28 U.S.C. § 1746, as follows:




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 N.W. 38th Avenue, Miami, FL 33054 (4378), and Republic
Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833) (collectively, the “Original
Debtors”), as well as: Republic High Tech Metals, LLC, 13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC
Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami,
FL 33054 (4696), J & L Republic LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900
NW 38th Avenue, Miami, FL 33054 (7848), Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road,
Huangpu District, Shanghai, P.R. 200001 China (1639), and Republic Trans Mexico Metals, S.R.L., Francisco I.
Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio Central, Delegaci6n Cuauhtemoc, Mexico DF 6000 (2942)
(collectively, the “Additional Debtors”).




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           1.       My name is Delaney Fisher. I am over the age of 21 and am competent in all

respects to make this declaration (the “Declaration”). I am the representative of Minera Triton

Argentina S.A. in connection with the above-captioned chapter 11 cases and serve as Chairperson

of Official Committee of Unsecured Creditors (the “Committee”) of Republic Metals Refining

Corporation and its affiliated debtors (collectively, the “Debtors”). I make this declaration in

support of the Committee’s application (the “Application”)2 to retain Cooley LLP (“Cooley”) as

counsel pursuant to section 1103 of chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”) and Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”). Except as otherwise noted, I have personal knowledge as to all the

information set forth below.

           2.       This Declaration is provided pursuant to section D.2 of the Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses promulgated by the

Office of the United States Trustee (the “U.S. Trustee Guidelines”). I am informed by Cooley that

the U.S. Trustee Guidelines require that any application for employment of an attorney under 11

U.S.C. §§ 327 or 1103 be accompanied by a verified statement from the client that addresses the

following:

                a) The identity and position of the person making the verification. The person
                   ordinarily should be the general counsel of the debtor or another officer responsible
                   for supervising outside counsel and monitoring and controlling legal costs.

                b) The steps taken by the client to ensure that the applicant’s billing rates and material
                   terms for the engagement are comparable to the applicant’s billing rates and terms
                   for other non-bankruptcy engagements and to the billing rates and terms of other
                   comparably skilled professionals.

                c) The number of firms the client interviewed.




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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Application.


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               d) If the billing rates are not comparable to the applicant’s billing rates for other non-
                  bankruptcy engagements and to the billing rates of other comparably skilled
                  professionals, the circumstances warranting the retention of that firm.

               e) The procedures the client has established to supervise the applicant’s fees and
                  expenses and to manage costs. If the procedure for the budgeting, review and
                  approval of fees and expenses differ from those the client regularly employs in non-
                  bankruptcy cases to supervise outside general counsel, explain how and why. In
                  addition, describe any efforts to negotiate rates including rates for routing matters,
                  or in the alternative to delegate such matters to less expensive counsel.

         A. Identity of Declarant

         3.       On November 2, 2018 (the “Petition Date”), the Original Debtors filed a voluntary

petition with this Court for relief under chapter 11 of the Bankruptcy Code. On November 19,

2018, the Office of the United States Trustee (the “U.S. Trustee”) appointed the Committee,

consisting of the following seven members: (i) Coeur Rochester, Inc. c/o Coeur Mining, Inc.; (ii)

Bayside Metal Exchange; (iii) So Accurate Group Inc.; (iv) Cyber-Fox Trading, Inc.; (v) Minera

Triton Argentina S.A.; (vi) Pyropure Inc. d/b/a Pyromet; and (vii) Minera Real de Ora S.A. de

C.V. On November 21, 2018, the Additional Debtors filed voluntary petitions for relief under

the Bankruptcy Code, initiating their chapter 11 cases.

         4.       As a member and Chairperson of the Committee, on behalf of Minera Triton

Argentina S.A., I was represented at the meeting by my counsel who held a proxy for me and

communicated with me during the counsel interview process, the result of which was the

Committee’s decision to retain Cooley as the Committee’s counsel in these chapter 11 cases.

         B. Steps Taken to Ensure Comparability of Engagement Terms

         5.       According to the Declaration of Seth Van Aalten, while Cooley’s billing rates vary

from attorney to attorney based on factors such as the attorney’s seniority and position with the

firm (e.g., partner, of counsel, special counsel, associate), years of experience, and the demand for

services in the attorney’s particular area of expertise, its billing rates do not vary as a function of




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whether the services performed relate to a bankruptcy engagement or a non-bankruptcy

engagement.

         6.    The Committee has been informed that Cooley endeavors to set the hourly rates for

its attorneys and paraprofessionals at levels competitive to those charged by firms with which they

compete. The Committee has been advised that the material terms for the engagement are

comparable to terms of other comparably skilled professionals. The Committee agrees that the

hourly billing rates of Cooley are appropriate in light of the breadth of its experience and areas of

expertise.

         C. Number of Firms Interviewed and Selection of Cooley as Lead Counsel

         7.    While I was not present during this process, it is my understanding and I have been

informed that: (i) on the day the Committee was formed, the Committee interviewed six law firms,

including Cooley, that expressed interest in serving as counsel; (ii) during each interview, the

Committee either sought or was furnished with information with respect to each of the firms’

hourly rates and experience; and (iii) the Committee selected Cooley to serve as counsel to the

Committee based upon Cooley’s expertise in chapter 11 cases, as described in further detail in the

Application.

         D. Other Circumstances Warranting Retention of Cooley

         8.    It is my understanding that the Committee selected Cooley as its counsel because

of the firm’s extensive experience and knowledge in the fields of creditors’ rights, business

reorganizations, restructurings, and liquidations under chapter 11 of the Bankruptcy Code,

particularly in the context of reorganizations, asset sales, and liquidations.

         E. Procedures Established to Supervise Fees and Expenses and Manage Costs

         9.    Throughout these cases, the Committee will supervise the fees and expenses

incurred by Cooley and, to manage costs, will require that Cooley provide all monthly fee


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statements to the Committee for review and that Cooley seek prior authorization before incurring

any extraordinary fees or expenses. The Committee has been informed that Cooley historically

increases the hourly billing rates for its professionals and para-professionals on an annual basis.

The Committee has consented to such ordinary course rate increases with the proper notice before

such an increase.

          10.    Cooley has provided the Committee with a budget and staffing pian, which it has

approved. Cooley has informed me that, if the Committee objects to the fees and expenses

requested by Cooley in any monthly fee statement, and the objection cannot be resolved

informally, Cooley will file a Notice of Objection to Fee Statement on the Committee’s behalf. I

understand that, in doing so, Cooley reserves all rights to contest any such objection raised to the

allowance or payment of its requested fees and expenses, and the Committee reserves the right to

retain conflicts counsel to prosecute any such fee objection if it cannot be resolved informally by

the parties.

          11.   Based on the foregoing, the Committee is of the opinion that it is appropriate to

employ Cooley and that such employment is in the best interest of the Debtors’ estates.

         I declare under penalty of perjury that the foregoing is true and correct.



Date: December 19        ,   2018                      /s/
                                                       Delane     er
                                                       Minera riton Argentina S.A.

                                                       Chairperson for the Official Committee of
                                                       Unsecured Creditors of Republic Metal
                                                       Refining Corporation, et a?.




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